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                 EXHIBIT 6
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                                                           Execution Version




                 SETTLEMENT AGREEMENT


                                among


                   Petroleos de Venezuela, S.A.
                       PDVSA Petroleo, S.A.
                        Corpoguanipa, S.A.
    (hereinafter together referred to as the "PDVSA Parties")


                                 and


               ConocoPhillips Petrozuata B.V. and
       Phillips Petroleum Company Venezuela Limited
      (hereinafter together referred to as "ConocoPhillips")




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       9.4   In addition to the remedies described in Article 9,3 above, if a Payment Default by
             the PDVSA Parties occurs, ConocoPhillips shall have the right to deliver a Default
             Notice, and if the PDVSA Parties do not remedy the Payment Default within thhty
             (30) Days of the date of a Default Notice, it shall constitute an "Event of Payment
             Default," in which case:

             9.4.1   the entire tmpaid outstanding Settlement Amount shall become immediately
                     due and owing under this Agreement and shall accrue interest at the Default
                     Interest Rate (instead of accruing interest at the Interest Rate as provided
                     for herein) until satisfied in full; and

             9.4,2   the obligations agreed and given by ConocoPhillips by and under Article
                     8.0 of this Agreement shall be cancelled, and ConocoPhillips shall have the
                     right, at the sole discretion of ConocoPhillips, to unilaterally take any and
                     all actions to enforce the ICC Award or any judgment recognizing,
                     confinning or enforcing the ICC Award, up to the full amount of any such
                     judgment, reduced only by the actual portion of the Settlement Amount
                     received by ConocoPhillips prior to the Event of Payment Default ("Extra-
                     Contractual Judgment Enforcement").




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      16.3   The PDVSA Parties irrevocably waive any immunity from anest, attachment or
             execution on their assets in relation to (i) the enforcement of any judgment
             resolving any action or proceeding arising out of or relating to this Agreement and
             (ii) the exercise by ConocoPhillips of Extra-Contractual Judgment Enforcement of
             the ICC Award.




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